The defendant has appealed from the judgment rendered against him, but no case is made up to enable this Court to judge whether the law has been duly administered; and we must, therefore, have inspected the record to decide on the legality of the judgment. But it appears from the certificate of the judge that a case presenting the points was intended to have been made up, but was prevented from his having lost the notes of the trial. Under these circumstances there is no other mode by which the justice of the case can be attained but by awarding a
PER CURIAM.                                             New trial.
Cited: Isler v. Haddock, 72 N.C. 120; Sanders v. Norris, 82 N.C. 245;S. v. Randall, 88 N.C. 613; Comrs. v. Steamship Co., 98 N.C. 167;McGowan v. Harris, 120 N.C. 140; S. v. Robinson, 143 N.C. 624.